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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:05CR3099
                                     )
           v.                        )
                                     )
MICHAEL C. ELMA,                     )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     1. Defendant Elma’s unopposed motion to continue time for
filing pretrial motions, filing 30, is granted and this
defendant's pretrial motions and briefs shall be filed on or
before December 9, 2005.

     2.   The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between November
17, 2005 and December 9, 2005 shall be deemed excludable time in
any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).


     DATED this 16th day of November, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
